                   UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF MICHIGAN

In Re:

JOSEPH DuMOUCHELLE FINE                           Case No. 19-56239
& ESTATE JEWELLERS, L.L.C.
                                                  Hon. Phillip J. Shefferly
         Debtor
                                                  Chapter 7
__________________________/

       CHAPTER 7 TRUSTEE’S APPLICATION FOR AUTHORITY TO
              EMPLOY SCHAFER AND WEINER, PLLC,
                   AS COUNSEL TO THE TRUSTEE

         Mark Shapiro, Chapter 7 Trustee of Joseph DuMouchelle Fine & Estate

Jewellers, LLC (the “Trustee”), for his application for authority to employ Schafer

and Weiner, PLLC (“S&W”) as counsel to the Trustee states:

                                   JURISDICTION

         1.    On November 17, 2019 (the “Petition Date”), East Continental Gems,

Inc., Thomas T. Ritter and William Noble Rare Jewels, LP (the “Petitioning

Creditors”) filed an involuntary Chapter 7 bankruptcy petition against Joseph

DuMouchelle Fine & Estate Jewellers, L.L.C. (the “Debtor”). S&W represented the

Petitioning Creditors with regard to the involuntary petition.

         2.    On December 16, 2019, the Court entered the Order for Relief and

Trustee was appointed to serve as the Chapter 7 Trustee in the case (the

“Appointment Date”).

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         3.    This Court has jurisdiction over this petition for employment under 28

U.S.C. §§157 and 1334. Venue of this proceeding is proper in this district under 28

U.S.C. §§ 1408 and 1409. The statutory predicate for the relief sought herein is §

§327(a) of the Code.

                                     BACKGROUND

         4.    The Debtor buys, sells and appraises fine jewelry, gemstones, objects

and art through private sales to individual purchasers or investors, public and private

auctions and public sales from its locations in Palm Beach, Florida, and Fifth Avenue

in New York City.

         5.    The Debtor is owned by husband and wife, Joseph DuMouchelle

(“DuMouchelle”) and Melinda Adducci (“Adducci”).

                                  The Individual Case

         6.    On October 9, 2019, the Oakland County Circuit Court issued a bench

warrant for DuMouchelle’s arrest.            Two days later, on October 11, 2019,

DuMouchelle and Adducci filed a joint chapter 11 voluntary bankruptcy petition in

this court (the “Individual Case"). The Individual Case was converted from Chapter

11 to Chapter 7 by order of the Court dated December 3, 2019.

         7.    Just over a month later, the Petitioning Creditors filed this case against

the Debtor. As a result, DuMouchelle and Adducci’s Individual Case is pending

concurrently with this Chapter 7 case.

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         8.    When DuMouchelle and Adducci appeared at the §341 hearing in the

Individual Case, they were accompanied by bankruptcy counsel of record and

criminal counsel, David Griem.

         9.    In response to questioning by the United States trustee ("UST") and

several creditors in attendance, DuMouchelle and/or Adducci, upon the advice of

counsel, invoked the fifth amendment privilege against self-incrimination, roughly

125 times in response to substantive and material bankruptcy inquiries, including:

               •     Recognition of their signatures on their chapter 11 petition;

               •     Recognition of their signatures on their bankruptcy schedules;

               •     Recognition of their signatures on their statement of financial
                     affairs;

               •     Ownership of real estate other than as disclosed;

               •     Reason(s) for filing chapter 11;

               •     Membership interests in LLCs;

               •     LLC operations;

               •     Contents of documents previously furnished to the UST at the
                     chapter 11 initial debtor interview;

               •     Number of storage units;

               •     Access to storage units;

               •     Description of pending litigation;


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               •     Omission of description of pending litigation from their
                     bankruptcy schedules;

               •     Location of their books and records;

               •     Earned income;

               •     Currently monthly income;

               •     Ownership of computers/servers;

               •     Value of trusts;

               •     Beneficiary interests in trusts;

               •     The disappearance of a 3.88 carat Fancy Intense Green Natural
                     Cushion Modified Brilliant Diamond;

               •     The disappearance of millions of dollars of entrusted funds to be
                     used for the purchase of gemstones; and

               •     The disappearance of other valuable, consigned gemstones.

         10.   As a result, there are numerous unanswered questions relating to the

Debtor’s assets and previous transactions which the Trustee must investigate in this

case.

                     S&W’s Representation of Petitioning Creditors

         11.   As set forth in more detail in the Declaration, each of the Petitioning

Creditors separately retained S&W to represent its interests as a creditor in the

Individual Case. See Declaration of Daniel J. Weiner (the “Declaration”), attached

as Exhibit B.

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         12.   S&W attended the §341 hearing as counsel for each the Petitioning

Creditors and examined DuMouchelle/Adducci. See Exhibit B.

         13.   Subsequently, pursuant to a retainer agreement dated on or about

November 14, 2019, the Petitioning Creditors jointly retained S&W to file the

involuntary petition and seek the appointment of an interim trustee. See Exhibit B.

         14.   S&W filed the involuntary petition on behalf of the Petitioning

Creditors and subsequently filed a motion for the appointment of an interim trustee

under 11 U.S.C. §303(g) [Dk. No. 11]. The Court granted the motion and ordered

the appointment of an interim trustee by order dated November 27, 2019 [Dk. No.

26].

         15.   On the Appointment Date (December 16, 2019), the Court entered the

Order for Relief and Trustee was appointed to serve as the Chapter 7 Trustee in the

case.

         16.   S&W has advised that its retention by the Petitioning Creditors in this

case terminated on the Appointment Date. See Exhibit B.

         17.   S&W has advised that it has not provided legal services to the

Petitioning Creditors in the Individual Case since the Appointment Date and will not

perform any services for the Petitioning Creditors in the future if this application is

granted. See Exhibit B.



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         18.   As a result of S&W’s participation in both this case and the Individual

Case, S&W is already familiar with the Debtor’s complex factual background and

has begun the process of investigating the Debtor and its assets.

                       REQUESTED EMPLOYMENT OF COUNSEL

         19.   The Trustee faces an uphill battle in this case. He must wade through

years of transfers in order to piece together the Debtor’s financial pictures and

determine what property the Debtor owns, where Debtor’s property is located and

what amounts Debtor owes to creditors. In addition, the Trustee must identify and

work to unravel potentially numerous fraudulent transfers and/or outright thefts of

Debtor’s assets (or property entrusted to the Debtor).

         20.   The Trustee has determined in his business judgment that he requires

the assistance of S&W in this case to represent him in the extensive discovery,

investigation and litigation that will be necessary in order to unravel the Debtor’s

history of complex and possibly fraudulent transactions.

         21.   Without limitation, the Trustee needs the assistance of S&W in this case

to assist him to undertake the discovery and investigation necessary to determine (i)

the location and value of Debtor’s assets, including several valuable jewels and

gemstones, and (ii) the extent of Debtor’s fraudulent transfers and/or outright theft,

as well as to represent the Trustee is the various adversary proceedings and legal

battles expected to arise out of the Debtor’s previous transactions.

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         22.   The Trustee wishes to retain S&W to represent him with regard to the

above described matters.

         23.   As a result of S&W’s prior representation of the Petitioning Creditors,

it is uniquely qualified to represent the Trustee in this case. S&W has already begun

investigating the Debtor and its murky background and will be prepared for many of

the complications that are likely to arise in this case.

         24.   The proposed compensation includes fees for services performed based

upon hourly rates to be approved by the Court for S&W.

         25.   Pursuant to the Declaration, and to the best of Trustee’s knowledge,

S&W has no connections with the Debtor, creditors, the Office of the U.S. Trustee, or

any other parties. See Exhibit B.

         26.   Pursuant to the Declaration, and to the best of Trustee’s knowledge,

S&W does not hold or represent any interest adverse to the estate with respect to the

services for which employment is sought. See Exhibit B.

         27.   Pursuant to the Declaration, and to the best of Trustee’s knowledge,

S&W is a “disinterested person” as that term is defined in Section 101 (14) of the

Bankruptcy Code. See Exhibit B.

         28.   Accordingly, the Trustee asserts that S&W may be employed as counsel

pursuant to 11 U.S.C. §327(a).



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         29.      A copy of the proposed order authorizing the Trustee to employ S&W

as counsel is attached as Exhibit A to this Application.

               WHEREFORE, the Trustee respectfully requests that this Court enter an

Order Authorizing the Trustee to Employ Schafer and Weiner, PLLC as counsel to

the Trustee or grant other relief that this Court deems appropriate.


                                           Respectfully Submitted,

                                           STEINBERG, SHAPIRO & CLARK


                                    By:    /s/ Mark H. Shapiro
                                           Attorney for Chapter 7 Trustee
                                           25925 Telegraph Rd., Ste. 203
                                           Southfield, MI 48033
                                           (248) 352-4700
                                           shapiro@steinbergshapiro.com




Dated: January 23, 2020




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                                    EXHIBIT A

                   UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF MICHIGAN

In Re:

JOSEPH DuMOUCHELLE FINE                           Case No. 19-56239
& ESTATE JEWELLERS, L.L.C.
                                                  Hon. Phillip J. Shefferly
         Debtor
                                                  Chapter 7
__________________________/

            ORDER GRANTING TRUSTEE’S APPLICATION
      FOR AUTHORITY TO EMPLOY SCHAFER AND WEINER, PLLC
                 AS COUNSEL TO THE TRUSTEE

         The Court has reviewed the Application for Authority to Employ Schafer and

Weiner, PLLC, as Counsel to the Trustee (the “Application”), filed by Mark Shapiro,

the Chapter 7 Trustee; the Court has read the Application and the supporting

Declaration submitted by Daniel J. Weiner, and the Court being otherwise fully

advised in the premises,

         NOW THEREFORE, IT IS HEREBY ORDERED that Schafer and

Weiner, PLLC, is employed as counsel for the Trustee pursuant to the terms outlined

in the Application.

         IT IS FURTHER ORDERED that Schafer and Weiner, PLLC, shall be

compensated for its services after proper application is made to, and authorized by,

the Court.
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                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN

In Re:

JOSEPH DuMOUCHELLE FINE                          Case No. 19-56239
& ESTATE JEWELLERS, L.L.C.
                                                 Hon. Phillip J. Shefferly
         Debtor
                                                 Chapter 7
__________________________/

               DECLARATION OF DANIEL J. WEINER, ESQ.
        IN SUPPORT OF CHAPTER 7 TRUSTEE’S APPLICATION FOR
         AUTHORITY TO EMPLOY SCHAFER AND WEINER, PLLC,
                    AS COUNSEL TO THE TRUSTEE

         In support of Chapter 7 Trustee’s Application for Authority to Employ

Schafer and Weiner, PLLC, as Counsel to the Trustee (the “Application”), Daniel

J. Weiner, Esq. (the “Declarant”) declares the following:

               1.     I am an attorney admitted to practice law in the State of

Michigan, and I am a founding member of the firm of Schafer and Weiner, PLLC

(“Applicant”), which maintains offices in Bloomfield Hills, Michigan.

               2.     Except as otherwise stated, I make this Declaration upon

personal knowledge, and if called as a witness, I could testify competently to the

facts contained herein.

               3.     Mark Shapiro, Chapter 7 Trustee (the “Trustee”) has requested

that Applicant be appointed as counsel for the Trustee to represent the Trustee in




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connection with investigations and enforcement actions, along with other matters

mutually agreed upon between Trustee and Applicant.

               4.     I believe pursuant to 11 U.S.C. § 327(a), neither I nor my firm

represent or hold any interest adverse to the Debtor or to its estate with respect to

the services for which S&W is seeking employment.

               5.     I am familiar with Sections 101(14), 327 and 330 of the United

States Bankruptcy Code, Fed. R. Bankr. P. 2014 and 5002, and Local Rule 2014

concerning the appointment of professional persons to perform services in

bankruptcy cases.

               6.     Applicant previously represented East Continental Gems, Inc.,

Thomas T. Ritter and William Noble Rare Jewels, LP as the Petitioning Creditors 1

in the involuntary bankruptcy proceeding filed in this case on November 17, 2019

(the “Petition Date”) and also as the major creditors in the Individual Case.

               7.    Applicant filed the involuntary Chapter 7 petition as counsel to

the Petitioning Creditors and subsequently prepared and filed the Emergency

Motion by Petitioning Creditors to Appoint Interim Trustee Under 11 U.S.C.

§303(g) [DN 11]. The Court granted the motion by order dated November 27,

2019 [DN 26].




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  Capitalized terms not defined herein shall have the meaning attributed to them in
the Application.
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               8.      On December 16, 2019, the Court entered the Order for Relief

and Trustee was appointed to serve as the Chapter 7 Trustee in the case (the

“Appointment Date”).

               9.      As a result of Applicant’s representation of the Petitioning

Creditors in this case and as major creditors in the Individual Case, Applicant has

generated legal fees and expenses totaling $51,256.03 which Applicant believes

are owed jointly by such creditors and which Applicant has not waived.

               10.     Applicant received the following amounts as counsel to the

Petitioning Creditors in connection with the involuntary Chapter 7 case: (i)

$7,611.00 from East Continental Gems, (ii) $7,611.67 from Thomas T. Ritter, and

(iii) $7,500 from William Noble Rare Jewels, LP. The amounts received were

applied to the filing fee of $1,818 and the balance to Applicant’s retainer in the

amount of $20,904.67 (the “Retainer”), leaving an unpaid balance of $30,731.29

owed by Petitioning Creditors.

               11.     Petitioning   Creditors     have   a   claim   under   11   U.S.C.

§503(b)(3)(a) and §503(b)(4) for reimbursement of expenses incurred in

connection with the involuntary Chapter 7 filing.




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               12.     Applicant no longer represents the Petitioning Creditors in this

chapter 7. Applicant’s retention by the Petitioning Creditors in this case ended on

the Appointment Date.

               13.     Applicant has not provided legal services to the Petitioning

Creditors in the Individual Case since the Appointment Date and will not perform

any services for the Petitioning Creditors in the future if the Trustee’s Application

is granted.

               14.     Applicant is a “disinterested person” as that term is defined in

Section 101 (14) of the Bankruptcy Code in that Applicant, its members, counsel

and associates:

                       a. Are not creditors, equity security holders or insiders of the
                          Debtor;

                       b. Are not and were not, within two (2) years before the
                          Petition Date, a director, officer, or employee of the Debtor;
                          and

                       c. Do not have any interest materially adverse to the interest of
                          the Debtor’s estate or of any class of creditors or equity
                          security holders, by reason of any direct or indirect
                          relationship to, connection with, or interest in any of the
                          Debtor, or for any other reason.

               15.     No promises have been received by Applicant nor by any

member or associate thereof as to compensation in connection with its

representation of the Trustee in this chapter 7 case other than those subject to the



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provisions of the Bankruptcy Code. Applicant has no agreement with any entity to

share any compensation received by Applicant.

               16.     As a law firm with an extensive bankruptcy, restructuring and

corporate practice, Applicant appears in cases, proceedings and transactions

involving many different attorneys, accountants, financial consultants, some of

which now or may in the future represent claimants and parties-in-interest in this

case. Applicant will not represent any of such entities in relation to this chapter 7

case.

               17.     To the best of my knowledge, other than disclosed herein,

neither I nor any member of Applicant has any connection with the Debtor, its

creditors, any other parties-in-interest, their respective attorneys and accountants,

or the Office of the U.S. Trustee.

               18.     Pursuant to Applicant's internal procedures, it has circulated a

list of known parties-in-interest and except as otherwise set forth herein, Applicant

has no relationship with any such parties that would render it not disinterested.

               19.     Applicant reserves its right to amend and update this

Declaration should other connections be discovered.

               20.     I know of no reason why Applicant should not be employed as

counsel for the Trustee.




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                   21.     I understand that if employed as counsel for the Trustee,


Applicant cannot be compensated until its fees are approved by the United States


Bankruptcy Court pursuant to an entered Order.


                   22.     Declarant says nothing further.


         Pursuant to 28 U.S.C. § 1746, I declare, under penalty of perjury, that the


foregoing is true and correct.



                                               Danierx Weiner, Declarant


Dated:         January 23, 2020




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